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                              IN THE UNITED STATES BANKRUPTCY COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION


                                                         Case No: 8:20-bk-02094-CPM
In Re:                                                   Chapter 13


Mary Busgith
______________________/

                                       REPORT OF UNCLAIMED FUNDS

         Comes now, Jon M. Waage, Chapter 13 Standing Trustee, and respectfully shows that, pursuant to orders

dismissing cases, orders of conversion, and orders of distribution, and as shown below, he has made distribution of all

monies received, and all checks issued prior to March 31, 2022, have cleared with exception of the following:


     Check Number                    Amount                             Claimant Name & Address

                                                                              Mary Busgith
          70983                     $2,400.00                            7101 21st Street North
                                                                       Saint Petersburg, FL 33702

                                                                               Mary Busgith
          70984                     $10,700.00                           c/o Kevin A. Comer, Esq.
                                                                        600 76th Avenue N., #211
                                                                         St. Petersburg, FL 33702


The Trustee further states that more than ninety (90) days have elapsed since the declaration of the dividends, and

pursuant to the provisions of 11 U.S.C. Section 347, the undersigned attaches funds totaling $13,100.00 for this case,

which is payable to Clerk, U.S. Bankruptcy Court/Court Registry, and states that the claimant(s) entitled to these

funds is/are listed above.

         Respectfully submitted on May 16, 2022.



                                                         /s/ Jon M. Waage
                                                         Jon M. Waage
                                                         Chapter 13 Trustee
                                                         P.O. Box 25001
                                                         Bradenton, FL 34206-5001
                                                         Phone (941) 747-4644
                                                         Fax (941) 750-9266

Cc: Clerk, U.S. Bankruptcy Court/Court Registry
